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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                 )
                                          )
                  v.                      )         No.    21-cr-278 (BAH)
ROBERT SCHORNAK                           )
                                          )
            Defendant.                    )
__________________________________________)

DEFENDANT’S RESPONSE TO COURT’S ORDER OF FEBRUARY 14. 2022

      Robert Schornak, through his attorney, Eugene Ohm, hereby notifies the

Court that he does not oppose the public release of the additional video evidence

submitted by the Government.




                                       Respectfully submitted,

                                       A.J. KRAMER
                                       FEDERAL PUBLIC DEFENDER

                                       ____________/s/______________
                                       Eugene Ohm
                                       Assistant Federal Public Defender
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